Case: 1:20-mj-00525-SKB Doc #: 6 Filed: 07/21/20 Page: 1 of 1 PAGEID #: 173
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 1:20-mj-00525
LARRY HOUSEHOLDER
Reseadai, CRIMINAL MINUTES before

Magistrate Judge Stephanie K. Bowman
Courtroom Deputv: Kevin Moser

Court Reporter: CourtSmart (Session ID#_ 192% _) Date/Time: 7/21/20 @ 1:00 PM

United States Attorney: Emily Glatfelter (see hEmans)

Defendant Attorney: David AxehedRetained) DAVID THOMAS Interpreter: N/A

C] By telephone By videoconferencing Deft oesdoes not consent to proceed

Initial Appearance: [K]Complaint; [T]Indictment; (_\/nformation;|_ petition for supervised release [_] Rule 5(c)/32.1 Proceedings
Bx] Counsel present CD Superseding Indictment (_] Pretrial Release Violation

[X] Defendant informed of charges and potential penalties [] Defendant informed of nature of supervised release violation(s)

Bx] Defendant informed of his / her rights [] Defendant provided copy of charging document Bg] copy provided to counsel (if sealed)
[1] Government moves for defendant to be detained pending detention hearing (REDA C7ED VERSTON)
(1 Financial affidavit presented to the Court/Defendant [&] Defendant informed of right to consulate notification (if applicable)

[J Counsel appointed (] FPD [[] CJA) & Charging document unsealed upon oral motion of the United States (QEPAGTED
VERON)
Detention: [Defendant to be detained pending trial pursuant to pretrial detention order [_] Defendant did not contest detention at this time

Plaintiff Witness (CJ Detention is moot - serving state sentence

 

 

Defendant Witness [J Home Incarceration
BIOR LC) Secured with [_]Electronic Monitor [[] Other [_] Home Detention [1] Curfew

 

(_]Location Monitoring [[] GPS [] RF

Special Conditions of Release:[_]Pretrial/Probation Supervision[_] Drug testing & Treatment [~] maintain employment & verify
[_Jrefrain from all/excessive alcohol []narcotic drugs unless prescribed [Sluse/possession of firearms [XQ Travel Restricted to SPCH
B<J no contact with any potential victim or witness, to include co-defendants [[] resolve all outstanding warrants [J Surrender Passport™

 

 

*Do NOT OBTAZN PASS PORT; FIREARMS 70 BE REMCVEP [_] Mental Health Eval/Treatment
Pretrial Bond Violation Hearing: FRom Heme BY 7/22/20 @ S00 F/Y4

(1) bond revoked - defendant detained pending trial []bond continued [_]bond modified:

 

Preliminary Exam Hearing set_ 8/¢/20 @ 130 FI BEL ORE MT LITROVITZ.

Preliminary Exam:[_]Probable Cause found;[7]not found; [7] waived;[[] bond continued/denied
AUSA Witnesses: Defendant Witnesses:

 

AUSA Exhibits: Defendant Exhibits:

 

Arraignment on (_] Indictment [[) Superseding Indictment [] Information[_] Misdemeanor Information:
Defendant waives reading [[] Defendant pleads: [.]GUILTY [[] NOT GUILTY
[_] PSI ordered [_]Sentencing set for
(_] Case to proceed before

 

Removal Hearing (Rule 5c or Rule 32.1):

 

(_] Defendant waives Identity Hearing [_] Defendant waives Detention Hearing in this district
1] Defendant waives Preliminary Hearing in this district

[_] Commitment to Another District Ordered [] Removed to

[_] Probable Cause Found

[-] Defendant to voluntarily report to charging district no later than

 

Remarks:

ATTORNEY PAVIP THOMAS AEPRESENTING PEFT FOR THES PROCEEDING
ONLY. DEFT TO RETAIN COUNSEL.
